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                                                              District Judge Jamal N. Whitehead




                         UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE



PLAINTIFF PACITO; PLAINTIFF ESTHER;                   CASE NO. 2:25-cv-00255-JNW
PLAINTIFF JOSEPHINE; PLAINTIFF
SARA; PLAINTIFF ALYAS; PLAINTIFF                      NOTICE OF 9TH CIRCUIT ORDER
MARCOS; PLAINTIFF AHMED;                              GRANTING DEFENDANTS’ MOTION TO
PLAINTIFF RACHEL; PLAINTIFF ALI;                      CLARIFY OR RECONSIDER THE CIRCUIT
HIAS, INC.; CHURCH WORLD SERVICE,                     COURT ORDER GRANTING A PARTIAL
INC.; and LUTHERAN COMMUNITY                          STAY
SERVICES NORTHWEST,

                  Plaintiffs,

        v.
DONALD J. TRUMP, in his official capacity
as President of the United States, MARCO
RUBIO, in his official capacity as Secretary of
State, KRISTI NOEM, in her official capacity
as Secretary of Homeland Security;
DOROTHY A. FINK, in her official capacity
as Acting Secretary of Health and Human
Services,

                 Defendants.




NOTICE OF COURT ORDER                                      U.S. Department of Justice
                                                           Civil Division, Office of Immigration Litigation
                                                           P.O. Box 878, Ben Franklin Station
No. 2:25-cv-00255-JNW                                      Washington, DC 20044
                                                           (202) 353-5677
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                                   NOTICE OF COURT ORDER

       Defendants, through counsel, hereby give notice to this Court that, on April 21, 2025, the U.S.

Court of Appeals for the Ninth Circuit granted Defendants’ motion seeking clarification of the Ninth

Circuit’s March 25, 2025 Stay Order, staying, in part, this Court’s First Preliminary Injunction, Dkt.

No. 45. Importantly, the Ninth Circuit clarified that this Court’s First Preliminary Injunction “remains

in effect [] only” as applied “to individuals who met the following conditions on or before January 20,

2025: (1) the individual had an approved refugee application authorizing Customs and Border

Protection to admit the individual ‘conditionally as a refugee upon arrival at the port within four

months of the date the refugee application was approved,’ 8 C.F.R. § 207.4; (2) the individual was

cleared by USCIS for travel to the United States; and (3) the individual had arranged and confirmable

travel plans to the United States.” Defendants therefore request that this Court allow sufficient time

for the Parties to (1) confer internally regarding the Ninth Circuit’s definition of the individuals for

whom this Court’s First Preliminary Injunction remains in effect; (2) subsequently meet and confer;

and (3) prepare a joint status report on next steps in light of the clarification provided in the April 21

order from the Ninth Circuit.

DATED this 21st day of April, 2025.


                                               Respectfully submitted,

                                               YAAKOV M. ROTH
                                               Acting Assistant Attorney General
                                               Civil Division

                                               DREW ENSIGN
                                               Deputy Assistant Attorney General

                                               ERNESTO H. MOLINA, JR.
                                               Deputy Director
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                                   DAVID KIM
                                   Senior Litigation Counsel

                                   /s/ Alexandra L. Yeatts
                                   ALEXANDRA L. YEATTS
                                   (CA Bar No. 358762)
                                   Trial Attorney

                                   JOSEPH MCCARTER
                                   LINDSAY ZIMLIKI
                                   Trial Attorneys
                                   U.S. Department of Justice
                                   Civil Division, Office of Immigration Litigation
                                   Washington, DC 20005
                                   Phone: 202-353-5677
                                   Email: alexandra.yeatts@usdoj.gov

                                   Attorneys for Defendants




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